
34 N.Y.2d 872 (1974)
Stanley Cherry, an Infant, by Dolly Cherry, His Mother, et al., Appellants,
v.
State of New York, Respondent. (Claim No. 53453.)
Court of Appeals of the State of New York.
Argued June 5, 1974.
Decided June 26, 1974.
Morris J. Bloomberg for appellants.
Louis J. Lefkowitz, Attorney-General (Jeremiah Jochnowitz and Ruth Kessler Toch of counsel), for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Order affirmed, without costs; no opinion.
